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                         IN THE UNITED STATES DISTRICT COURT
                    IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:23-cv-61628-RLR

  LAWRENCE A. CAPLAN,
  BARRY BUTIN and
  MICHAEL STRIANESE

                 Petitioners,
  v.

  DONALD J. TRUMP

                 Respondent

          FIRST AMENDED AND RESTATED COMPLAINT AND REQUEST FOR
                           DECLARATORY RELIEF

         Petitioner now comes before this honorable Court seeking declaratory relief on the

  specific issue of whether candidate Donald J. Trump is indeed constitutionally prohibited from

  seeking a second term as President of the United States. Encompassed within this request for

  declaratory relief is a further determination as to whether candidate Trump is indeed even

  eligible to participate in the upcoming Florida Republican Party Primary scheduled for next

  spring in 2024.

         In bringing this request for declaratory relief Petitioner has carefully studied the specific

  provisions of the U.S. Constitution which govern whether an individual who participates in an

  overt rebellion and/or insurrection against the U.S. government is effectively disqualified from

  service in the federal government, whether as a Representative, U.S. Senator, Vice-President or

  President of the United States.
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         For purposes of standing, Petitioner asserts that he had actively participated in the last

  twelve Presidential elections dating back to 1976 when he cast his first vote at the age of

  eighteen. It should be noted that in the course of these 12 Presidential elections, Petitioner has

  cast his vote for both Democratic and Republican tickets and was a registered Independent for

  many years. Petitioner is a legal resident of the state of Florida and a U.S. citizen by birth.

  Petitioner has also been a member of the Florida Bar since 1984, the State Bar of California since

  1985, the Oregon State Bar since 1997, and is currently a member of the U.S. Tax Court, the

  U.S. District Court for the Southern District of Florida, the 11th Circuit Court of Appeals and the

  United States Supreme Court. Petitioner has never been sanctioned or suspended by any court.

         Petitioner, Lawrence Caplan is a citizen of the United States and a legal resident of the

  state of Florida an is over the age of eighteen years. Petitioner, Barry Butin, is a U.S. citizen and

  is a legal resident of the state of Florida and is over the age of eighteen years. Petitioner, Michael

  Strianese, is a U.S. citizen and is a legal resident of the state of Nevada and is over the age of

  eighteen years.

         Defendant/Respondent Donald J. Trump was the 45th President of the United States and

  is a legal resident of the state of Florida and is over the age of eighteen years.

         For standing to be had, there must be a concrete injury suffered by the Plaintiffs as a

  result of the Defendant’s conduct. In this case, Defendant Trump was indicted by the D.C. Grand

  Jury for conspiracy to violate rights as incorporated in Section 241 of Title 18 of the U.S. Code.

  Further, Trump was indicted for corrupt obstruction of an official proceeding and conspiracy to

  commit that same crime. Both of these crimes are provisions of Section 1512 and any conviction

  under that statute is punishable by up to twenty years in prison. Indeed, in light of these

  indictments, plaintiffs would suffer serious harm if Trump were allowed to again run for the
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  Presidency and possibly prevail in that effort. Secondly, there must be a showing of actual or

  imminent harm, which is clearly met by the mere fact that the Republican primary season will be

  upon us in a matter of months and it is incumbent on the courts to determine whether Trump is

  indeed now ineligible to run for federal office. Individual voters have the right to know whether

  their votes will actually count or whether they should instead cast their votes for a candidate who

  will be eligible to run for the office sought. Next, there must be a showing of causation, i.e. that

  the individual whose right to run for federal office has triggered the possible disqualification as

  is set out in Section Three of the 14th Amendment. Finally, there must be a showing that the

  Court has the power to resolve the issue before it, i.e. that it has the legal authority to disqualify

  the candidate for being involved in an insurrection or abject interference with the electoral

  process and has violated his Constitutional oath of office. There can be little doubt that this Court

  indeed maintains this authority.

          The facts of this case are undeniably simple. Donald J. Trump served as the 45th President

  of the United States having won the election in 2016 and was inaugurated on January 20, 2017.

  He served for four years until he lost the 2020 Presidential Election to Joseph R. Biden, Jr. who

  took office on January 20, 2021. President Trump chose not to appear at the inauguration of his

  successor, having left for his estate in South Florida while the ceremony was taking place.

          On January 6, 2021, after giving a speech to a throng on the Ellipse near the Capitol,

  President Trump exhorted the throng to march to the Capitol and told them that he would be

  right there with them. After he was finished with his speech, Trump returned to the White House

  and watched he later events unfold on television. As we are well aware, the throng marched on

  the Capitol, forced their way into the Capitol building, ransacked the rotunda area, and even

  made their way into several offices of representatives and senators. As the confirmation of the
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  results of the election were being undertaken in the House, alarms went off and the members

  scurried into safe tunnels and secure rooms in the basement of the Capitol. Of note. Vice

  President Mike Pence missed being reached by some of the throng by a matter of seconds as he

  made his way down the stairwell to a secure area. Eventually, several high-ranking members of

  the government were shuttled to a safe area at Fort McNair in SW Washington.

         Of note, President Trump had sent out a tweet the day before claiming that “January 6th

  will be wild”. Trump also later remarked that the insurrectionists who had breached the Capitol

  were “special” and that “we love you”. He also later remarked that had Vice-President Pence

  simply done his job and refused to certify the results of the election that everything would have

  been fine. Not for several hours were the National Guard called in to quell the insurrection as

  allegedly President Trump refused to do so and had been mesmerized by the events that were

  taking place on his television at the White House.

         Since the events of January 6th, hundreds of insurrectionists have been charged and tried

  and convicted on charges ranging from simple mischief to assault and battery upon Capitol

  police officers. A number of individuals actually lost their lives that day as a result of the

  mayhem.

         Recently, the Special Counsel, Jack Smith, who had been appointed by the U.S. Attorney

  General, submitted his findings on the events of January 6th, to an empaneled grand jury in D.C.

  which returned indictments against President Trump for, among other things, insurrection against

  the U.S. federal government. Trump was arraigned on these charges and now awaits trial

  sometime in 2024 or perhaps 2025.

         It should be noted at least cursorily that Trump has also been formally indicted on

  charges of holding top secret documents at his home in Palm Beach, Florida, which is a federal
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  offense, and ahs also been indicted by the City of Manhattan and State of Georgia for other

  election related crimes. However, none of these other crimes have the effect of preventing

  President Trump from seeking reelection in November, 2024, save the possibility of the

  indictment in Georgia which involved state election fraud.

         Besides Section Three of the 14th Amendment, 18 USC 2383 also speaks to the specific

  issue of disqualification of eligibility to run for higher office. The pertinent language of the

  statute states that “whoever incites a rebellion or insurrection can be fined and can be barred

  from running for office.” This language closely tracks that of the 14th Amendment.




                THE LAW ON THE MATTER OF INCITING INSURRECTION
                       AGAINST THE FEDERAL GOVERNMENT

         The Fourteenth Amendment to the U.S. Constitution was ratified in 1868 in the shadow

  of the Civil War and was designed to represent a new birth of freedom for previously

  disenfranchised citizens. Of particular note, Section 3 of the 14th Amendment, automatically

  excludes from future office and position of power in the U.S. government and as well, from any

  office and position of power in the sovereign states and their many subdivisions, any individual

  who has previously taken an oath to support and defend our Constitution and after which acts so

  as to rebel against that charter, either via overt insurrection or by giving aid or comfort to the

  Constitutions’ enemies.

         In carefully analyzing this language embedded in the Constitution, numerous legal

  scholars have wrangled with the preeminent issue of whether an actual conviction is necessary to

  trigger the prohibition of running for office. This so-called “disqualification clause” has been

  determined to operate completely independently of any pending criminal proceedings and also
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  independent of any impeachment proceedings or congressional legislation. Former federal judge

  Michael Luttig of the U.S. Court of Appeals for the Fourth Circuit and noted legal scholar

  Laurence Tribe have both come to the inescapable conclusion that the “disqualification clause”

  was designed to operate directly and immediately upon this certain individuals who betray their

  oaths to the U.S. Constitution, whether by taking up arms to overturn our government or by

  waging war on our federal government by attempting to overturn the results of a presidential

  election through a bloodless coup.

         President Trump’s efforts both in Washington, as well as in Georgia and perhaps other

  states, as well as the consequential assault on the US Capitol, put Trump at the center of the

  disqualification clause, and as a result of which, make him ineligible to ever serve in federal

  office again. Now given that the facts seem to be crystal clear that Trump was involved to some

  extent in the insurrection that took place on January 6th, the sole remaining question is whether

  American jurists who swear an oath to uphold the US Constitution upon their entry to the bench,

  will choose to follow the letter of the Constitution in this case.

         Of particular note in this regard is that during his one term in office, President Trump had

  the opportunity to appoint three new Supreme Court justices to the high court. Each of these

  three jurists, Justice Neil Gorsuch, Justice Brett Kavanaugh and Justice Amy Coney Barrett are

  viewed as conservative jurists who err on the side of a strict construction of the US Constitution.

  In their decision to overturn the long standing case law of Roe v.Wade, the justices found that

  there was no ”right of privacy” imbued in the Constitution and none could be fashioned out of

  whole cloth. Rather the most difficult decisions that the Court is forced to make such as whether

  a woman has the inherent right to abort her unborn child, is one that must be decided by looking

  at a very strict construction of the Constitution as our Founding Fathers saw fit to provide.
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         If in fact Donald J. Trump were to be reelected, how could any US citizen trust that he

  would decide to uphold the Constitutional oath of office that h=e would take upon his

  inauguration. Last December, former President Trump posted on Truth Social, his determined

  view that the last presidential election in 202 was a “massive fraud” one that “allows for the

  termination of all rules, regulations and articles, even those found in the Constitution”. These

  words are simply chilling and substantiate the need to fully employ the guardrails which were

  put into place when the 14th Amendment was enacted back in 1868.

         Furthermore, there is now recent legal precedent for the application of the language of

  Section Three of the 14th Amendment in order to bar an individual who has been accused of

  insurrection from holding state office. In the case of the State of New Mexico v. Couy Griffin,

  which was decided by the State of New Mexico First Judicial District Court, it was determined

  that Couy Griffin, a participant in the attack on the US Capitol on January 6, 2021, was

  effectively barred from serving as Otero County Commissioner as a result of his prior actions. In

  this case, Section Three of the 14th Amendment was again viewed by the Court as being self-

  executing, i.e. no congressional law needed to be passed and the mere fact that Griffin had been

  formally accused of insurrection was enough to bar him from holding state office.

         Interestingly enough, Section 3 of the 14th Amendment, which provides for the

  disqualification of an individual who commits insurrection against our government has remained

  on the books for some one hundred and fifty plus years without ever facing question as to its

  legitimacy. While one can certainly argue that it has not been thoroughly tested, that fact is only

  because we have not faced an insurrection against our federal government such as the one while

  we faced on January 6, 2021. It should also be noted that President Trump has since made
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  statements to the effect that should he be elected, he would advocate the total elimination of the

  US Constitution and the creation of a new charter more in line with his personal values.

          The 14th Amendment was promulgated and subsequently ratified in the context of post -

  Civil War America when even after losing the Civil War, southern states were sending men to

  Congress who had held prominent roles in the Confederacy and supported acts of insurrection

  against the U.S.

          Any number of top legal scholars, including but not limited to Judge Luttig and Laurence

  Tribe conclude that Section 3 requires absolutely no legislation, criminal conviction or other

  judicial action to enforce its command. In legal terms, Section 3 is completely “self-executing”.

  They conclude that disqualification subject to Section 3 does not constitute a punishment or a

  deprivation of any “liberty” or “ right” as much as one who fails to satisfy the Constitution’s

  qualifications does not have an absolute right to serve in a public office much less the

  presidency. Lastly, the scholars conclude that Section 3 is expansive and all-encompassing is

  what it regards as “insurrection or rebellion” against the constitutional order of the United States.

  There can be little doubt in view of former President Trump’s statement prior to January 6th,

  along with his exhortations to the assembled throng on the Ellipse on January 6, 2021, that he

  fully supported the rebellion against the Congressional attempt to certify the election. Indeed,

  Trump stated that the cries by the throng to “hang Mike Pence” were justified because Pence did

  not have the guts to agree to refuse to certify the electoral votes which had previously been cast

  in the fifty states.

          Taken along these same lines, had it been conclusively proven that Barack Obama had

  not been born in Hawaii but rather outside of the U.S., the Constitution would have conclusively

  barred him from seeking the Presidency. And Petitioner is convinced that there would have been
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  no “wiggle room” to allow him to escape that Constitutional requirement. Furthermore, had

  President Trump merely been thought by many individuals to have engaged in an insurrection

  against the federal government, that would not have been enough to trigger Section 3 of the 14th

  Amendment. However, the mere fact that he has been formally indicted for various felonies

  including insurrection, corrupt obstruction of a federal proceeding and conspiracy against the

  federal government mandates that Section 3 of the 14th Amendment now be triggered.

          The bottom line here is that President Trump both engaged in an insurrection and also

  gave aid and comfort to other individuals, such as the Proud Boys and Oath Keepers who were

  engaging in such actions, within the clear meaning of those terms as defined in Section Three of

  the 14th Amendment. Assuming that the public record to date is accurate, and we have no

  evidence to the contrary, Trump is no longer eligible to seek the office of the President of the

  United States, or the office of any other state of the Union. Trump has legally forfeited that right

  as a result of his specific actions which have led to his indictment on several charges after

  thorough investigation by the Special Counsel.

          As such, this Court having the innate power to rule as to the tenets of the U.S.

  Constitution, is abjectly required to find that Donald J. Trump’s actions with respect to the

  January 6th uprising, and specifically the fact that he has been indicted for said acts, have

  effectively disqualified him from seeking the office of the President of the United States, and

  effectively barred him from participation in the Florida Republican primary for President next

  spring. While Petitioner fully understands that his seeking this declaratory judgment places great

  pressure on the jurists who will be tasked with hearing this case, we believe that the law is

  abundantly clear as to the issues at bar, is entirely self-executing in nature, and that if the jurists
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  are ready to follow the specific language of the US Constitution in this regard, the decision

  should be a relative easy one to make.

         WHEREFORE, Petitioner respectfully asks this honorable Court to enter a declaratory

  judgment such that Donald J, Trump is barred from seeking the office of President of the United

  States and further, is barred from participating in the Republican Presidential primary in Florida

  in the spring of 2024.

         Respectfully submitted,



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